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              EXHIBIT D
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      JAMS
 Comprehensive
Arbitration Rules
  & Procedures
 Effective June 1, 2021




                       Local Solutions. Global Reach.
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    on the other Parties. Any response to the new claim shall be        telephone number and email address of the new representative.
    made within fourteen (14) calendar days after service of such       Such notice shall state that the written consent of the former
    claim. After the Arbitrator is appointed, no new or different       representative, if any, and of the new representative, has
    claim may be submitted, except with the Arbitrator’s approval.      been obtained and shall state the effective date of the new
    A Party may request a hearing on this issue. Each Party has the     representation.
    right to respond to any new or amended claim in accordance
    with Rule 9(c) or (d).                                              (c) The Arbitrator may withhold approval of any intended
                                                                        change or addition to a Party’s legal representative(s) where
                                                                        such change or addition could compromise the ability of the
    RULE 11                                                             Arbitrator to continue to serve, the composition of the Panel in
    Interpretation of Rules and                                         the case of a tripartite Arbitration or the finality of any Award
    Jurisdictional Challenges                                           (on the grounds of possible conflict or other like impediment).
                                                                        In deciding whether to grant or withhold such approval, the
    (a) Once appointed, the Arbitrator shall resolve disputes           Arbitrator shall have regard to the circumstances, including
    about the interpretation and applicability of these Rules and       the general principle that a Party may be represented by a
    conduct of the Arbitration Hearing. The resolution of the issue     legal representative chosen by that Party, the stage that the
    by the Arbitrator shall be final.                                   Arbitration has reached, the potential prejudice resulting from
    (b) Jurisdictional and arbitrability disputes, including disputes   the possible disqualification of the Arbitrator, the efficiency
    over the formation, existence, validity, interpretation or scope    resulting from maintaining the composition of the Panel (as
    of the agreement under which Arbitration is sought, and who         constituted throughout the Arbitration), the views of the other
    are proper Parties to the Arbitration, shall be submitted to and    Party or Parties to the Arbitration and any likely wasted costs
    ruled on by the Arbitrator. The Arbitrator has the authority to     or loss of time resulting from such change or addition.
    determine jurisdiction and arbitrability issues as a preliminary
    matter.                                                             RULE 13
    (c) Disputes concerning the appointment of the Arbitrator           Withdrawal from Arbitration
    shall be resolved by JAMS.                                          (a) No Party may terminate or withdraw from an Arbitration
                                                                        after the issuance of the Commencement Letter (see Rule 5),
    (d) The Arbitrator may, upon a showing of good cause or sua         except by written agreement of all Parties to the Arbitration.
    sponte, when necessary to facilitate the Arbitration, extend any
    deadlines established in these Rules, provided that the time        (b) A Party that asserts a claim or counterclaim may unilaterally
    for rendering the Award may be altered only in accordance           withdraw that claim or counterclaim without prejudice by
    with Rules 22(i) or 24.                                             serving written notice on the other Parties and the Arbitrator.
                                                                        However, the opposing Parties may, within seven (7) calendar
    RULE 12                                                             days of service of such notice, request that the Arbitrator
                                                                        condition the withdrawal upon such terms as he or she may
    Representation                                                      direct.
    (a) The Parties, whether natural persons or legal entities such
    as corporations, LLCs or partnerships, may be represented by        RULE 14
    counsel or any other person of the Party’s choice. Each Party
    shall give prompt written notice to the Case Manager and the        Ex Parte Communications
    other Parties of the name, address, telephone number and            (a) No Party may have any ex parte communication with
    email address of its representative. The representative of a        a neutral Arbitrator, except as provided in section (b) of this
    Party may act on the Party’s behalf in complying with these         Rule. The Arbitrator(s) may authorize any Party to communicate
    Rules.                                                              directly with the Arbitrator(s) by email or other written means
                                                                        as long as copies are simultaneously forwarded to the JAMS
    (b) Changes in Representation. A Party shall give prompt            Case Manager and the other Parties.
    written notice to the Case Manager and the other Parties of
    any change in its representation, including the name, address,
